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FLNB Local Form 3

Exhibit Tag/ Cover Sheet

Party submitting: _ Plaintiff Ex. # 64

Admitted: Yes or No (circle one}

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv, Ne.:

Nature of Hearing/

Docket No:

Dated 07/22 2021.

 

By: , Deputy Clerk

 
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UNITED STATES DEPARTMENT OF EDUCATION

OFFICE OF MANAGEMENT

 

Office of the Chief Privacy Officer

January 31, 2018

Julian Rooks
3648 Dartford Lane
Tallahassee, FL 32311

RE: Privacy Act Request No. 18-00030-PA

Dear: Julian Rooks

This is in response to your letter dated November 5, 2017, requesting information pursuant the
Privacy Act of 1974, 5 U.S.C. § 552a as amended. Your request was received in this office on
January 31, 2018, and forwarded to the primary responsible office(s) for action.

You requested: (1) all records, specifically those containing the earliest date, regarding Jost,
missing, switched or otherwise incorrect student transcripts involving St. Matthews University
School of Medicine and/or St. Joseph's College of Maine. (2) all records, specifically those
containing the earliest date, regarding the misrepresentation of federal student loans involving St.
Matthews University School of Medicine and/or St. Joseph's College of Maine. (3) all records
regarding why this DOE email and these documents (ex. 1-If) were redacted. (4) all records

pertaining to me.

Please refer to the Privacy Act tracking number to check the status of your Privacy Act request at
the link provided below:

htto:/Awww2.ed.gov/policy/gen/les/foia/foiatoc html

Any future correspondence or questions regarding your request, please contact the FOLA Public
Liaison at 202-401-8365 or EDFOLAManager@ed.gov

Sincerely,

ED FOTA Manager

400 MARYLAND AVE., S.\W, WASHINGTON, DC 20202-4500
weanw.ed_gov
